Case 2:19-bk-56885   Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 1 of 100
Case 2:19-bk-56885   Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 2 of 100
Case 2:19-bk-56885   Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 3 of 100
Case 2:19-bk-56885   Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 4 of 100
Case 2:19-bk-56885   Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 5 of 100
Case 2:19-bk-56885   Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 6 of 100
Case 2:19-bk-56885   Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 7 of 100
Case 2:19-bk-56885   Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 8 of 100
Case 2:19-bk-56885   Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 9 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 10 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 11 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 12 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 13 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 14 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 15 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 16 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 17 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 18 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 19 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 20 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 21 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 22 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 23 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 24 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 25 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 26 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 27 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 28 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 29 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 30 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 31 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 32 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 33 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 34 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 35 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 36 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 37 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 38 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 39 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 40 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 41 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 42 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 43 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 44 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 45 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 46 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 47 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 48 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 49 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 50 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 51 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 52 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 53 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 54 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 55 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 56 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 57 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 58 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 59 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 60 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 61 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 62 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 63 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 64 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 65 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 66 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 67 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 68 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 69 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 70 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 71 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 72 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 73 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 74 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 75 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 76 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 77 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 78 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 79 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 80 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 81 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 82 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 83 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 84 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 85 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 86 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 87 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 88 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 89 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 90 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 91 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 92 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 93 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 94 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 95 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 96 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 97 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 98 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 99 of 100
Case 2:19-bk-56885    Doc 1146-2 Filed 04/03/20 Entered 04/03/20 21:32:57   Desc
                     Available Contracts - Part I Page 100 of 100
